                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

SITEL OPERATING CORPORATION,

       Plaintiff
v.
                                                           CIVIL ACTION NO. 3:12-cv-000259
AMERICAN HOME ASSURANCE
COMPANY,

       Defendant.



                                STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), plaintiff Sitel Operating Corporation and

defendant American Home Assurance Company, by and through counsel, represent to the Court

that all claims in controversy in this action have been compromised and settled. It is accordingly

STIPULATED and AGREED by counsel for the undersigned parties that all claims asserted in

this action, including but not limited to the claims asserted in the complaint filed by plaintiff and

the counterclaim filed by defendant, shall be DISMISSED with prejudice, with each party

bearing its own costs and attorney fees in connection with this action.

                                                      Respectfully submitted,

                                                      s/Garry K. Grooms
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                                                      Counsel for Sitel Operating Corporation




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                                                     Counsel for American Home Assurance
                                                     Company

                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 27th day of September, 2013, a copy of the foregoing
Stipulation of Dismissal was filed electronically with the Court. Notice of this filing will be sent
to the following parties by operation of the Court’s electronic filing system as indicated below.
Parties may also access this filing through the Court’s system.

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                                                     s/Garry K. Grooms
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